       Case: 22-2003 Doc
Case 23-12825-MBK      Document:
                         286-26 181-1      Page: 1 Entered
                                  Filed 04/24/23      Date 04/24/23
                                                           Filed: 03/31/2023
                                                                     12:06:09   Desc
                             Exhibit 24 Page 1 of 2



                     UNITED STATES COURT OF APPEALS
                          FOR THE THIRD CIRCUIT
                             ________________

                 Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-0007,
                        22-2008, 22-2009, 22-2010, 22-2011
                                ________________

                         In re: LTL MANAGEMENT, LLC
                                                Debtor

                            LTL MANAGEMENT, LLC

                                         v.

           THOSE PARTIES LISTED ON APPENDIX A TO COMPLAINT
                    AND JOHN AND JANE DOES 1-1000

                *OFFICIAL COMMITTEE OF TALC CLAIMANTS,
                Appellant in case Nos. 22-2003, 22-2004 and 22-2005

       *OFFICIAL COMMITTEE OF TALC CLAIMANTS; PATRICIA COOK;
             EVAN PLOTKIN; RANDY DEROUEN; KRISTIE DOYLE,
         as estate representative of Dan Doyle; KATHERINE TOLLEFSON;
          TONYA WHETSEL, as estate representative of Brandon Wetsel;
            GIOVANNI SOSA; JAN DEBORAH MICHELSON-BOYLE,
                   Appellants in case Nos. 22-2006, 22-2007 and 22-2008

             ARNOLD & ITKIN LLP, on behalf of certain personal injury
                   claimants represented by Arnold & Itkin,
                         Appellant in case No. 22-2009

       AYLSTOCK WITKIN KREIS & OVERHOLTZ PLLC, on behalf of more
                 than three thousand holders of talc claims,
                  Appellant in case Nos. 22-2010 and 22-2011

                   *(Amended per Court’s Order dated 06/10/2022)


                  Appeal from the United States Bankruptcy Court
                            for the District of New Jersey
                  (District Court No.: 21-bk-30589; 21-ap-03032)
                  Bankruptcy Judge: Honorable Michael B. Kaplan
       Case: 22-2003 Doc
Case 23-12825-MBK      Document:
                         286-26 181-1      Page: 2 Entered
                                  Filed 04/24/23      Date 04/24/23
                                                           Filed: 03/31/2023
                                                                     12:06:09         Desc
                             Exhibit 24 Page 2 of 2




                               Argued September 19, 2022

             Before AMBRO, RESTREPO, and FUENTES, Circuit Judges

                                     JUDGMENT

      These cases came to be heard on the record before the United States Bankruptcy
Court for the District of New Jersey and were argued on September 19, 2022.
      On consideration whereof, IT IS ORDERED AND ADJUDGED by this Court that
the order of the Bankruptcy Court entered March 2, 2022 is reversed and the case is
remanded with the instruction to dismiss Appellee’s Chapter 11 petition. The order of the
Bankruptcy Court entered March 4, 2022 is vacated as moot. Costs taxed against the
Appellee.
       All of the above in accordance with the Opinion of this Court.


                                                  ATTEST:




                                                  s/ Patricia S. Dodszuweit
                                                  Clerk
Dated: January 30, 2023




                                  Certified as a true copy and issued in lieu
                                  of a formal mandate on      03/31/2023

                                 Teste:
                                 Clerk, U.S. Court of Appeals for the Third Circuit




                                             2
